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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    11-cr-00184-WYD

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. LEON HENDERSON ASKEW,

      Defendant.

                                   MINUTE ORDER

ORDER ENTERED BY CHIEF JUDGE WILEY Y. DANIEL

       THIS MATTER is before the Court on Defendant’s pro se Motion for Return of
Property [ECF No. 68], filed January 31, 2012, and Defendant’s pro se Motion for Writ of
Habeas Corpus ad Prosequendum [ECF No. 69], filed January 31, 2012. Under the law,
there is no constitutional right to a hybrid form of representation. See United States v.
Bennett, 539 F.2d 45, 49 (10th Cir. 1976). Defendant is currently represented by
counsel, La Fonda Jones. Consequently, the Court will not consider a motion that the
Defendant has filed pro se. Accordingly it is

       ORDERED that Defendant’s pro se Motion for Return of Property [ECF No. 68]
and his pro se Motion for Writ of Habeas Corpus ad Prosequendum [ECF No. 69], which
were both filed January 31, 2012, are STRICKEN.

      Dated: February 2, 2012
